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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION

 UNITED STATES OF AMERICA                                                       RESPONDENT


 v.                                     No. 4:16-cr-40008
                                        No. 4:20-cv-4094

 NATHAN KARL THOMAS                                                                MOVANT


                                            ORDER

        Movant, NATHAN KARL THOMAS, has submitted a pro se Motion to Vacate Set Aside

 or Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 65) and a Motion for Leave to Amend

 (ECF No. 66). The Court has reviewed the Motion for Leave to Amend and finds that same should

 be denied.

        IT IS HEREBY ORDERED the Motion for Leave to Amend (ECF No. 66) is in all

 respects DENIED. The Court will enter a subsequent Order appointing counsel and allowing

 counsel to file a Supplement to the Motion to Vacate Set Aside or Correct Sentence pursuant to 28

 U.S.C 2255 if counsel deems such Supplement necessary.

        ENTERED this 21st day of October 2020.




                                             /s/Barry A. Bryant
                                             HON. BARRY A. BRYANT
                                             UNITED STATES MAGISTRATE JUDGE
